Case 1:16-cv-10573-RGS Document 1-1 Filed 03/23/16 Page 1 of 11




                    EXHIBIT A
   Case 1:16-cv-10573-RGS Document 1-1 Filed 03/23/16 Page 2 of 11




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                                                                     iNftoinbfer:

                                                                                      M/f cv 'fj

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jsnha?j?p«»."TOI>'v:^^#
liC.
cosEPomaioiiff,




Elizalj^ S^esly,. Bs!^'>.                      ^®8!fr.0€i^ii^t|3^}.!Eii^       Rewyerj? Cbn]^any>
LLC, I,C..




                                                                                             'J;lfcacb,

                                                                                        and^lbl^ns
       ©j .^h^                          j^eticeS-IS-                §. 16$>2, H seq. (hg^e^eF ih^
       "FDCPA"), l!itts1dEl!(SfeA gJi61iiil»tav^                                    ^p^yei.4iscqptiy©;
        puduix^ colleisdp^ pniciiiqes;


                                                   nec;V:-ff:.-2>
                                                        -                      HSCEijj^w».igr
                                                                           srousxiBftS®^^^
                                                     r£B Is 7215
Case 1:16-cv-10573-RGS Document 1-1 Filed 03/23/16 Page 3 of 11




                                              ESEGES


2.                KAIB 0'REW,Y, is                                8« ^      WPMAIKI SmBBT,
     ^YONj,         02322, Couj# ofliirojtfCpTB^StweMtlai ofMassachiisettss

3.. Pl^atifTis ft "ccii3fiumiBt";as'diefiftedi?y XijiS,G. ^
4. D^^dtot ENHANCED RECOMRY dl^Ri^Srv-lLilS. fEafe^^ed-itWeiyn                                      ft.
     "biislnbss        regulady                                                                    its
     pri}i6ipal'<placie oflwsia^s                                                                 FL
     32256. 7^0piincipail puxftoso 6fDbSsndaiit isthocoUoodoa-ofdebts.usinig; liio.mails and
     telib^hoftOb andDftfeodftiitregidlrly
5.. D-efeadftiit l.C, SYBIEM, INC.                    43 a, biism^5vefl%


     E. HIGltWAY -96, ST. FAXJL, MN 5^27. The                        Tl^pdsorblri^i^iii^
     cplXecdQa of debts using the. mads andtblephea^^ijjie&atjdhnti^^^g^^                           m
     cplle.et.de1?its alleged to be due SJpuolhejC.

d. IJfefpBdabt TARGET C0l®QMn[0BCT^Iief4Aft.ft:husi^

     of business atrl;6S0 CAFimGrnDRIVB?

                  -'••"•• •   ^~m                                        "• • •"•••   '•

7. On August 17, 2015, PlaintOT and IC^ dii beMf of                        -ehtefpd into a./seftlemenl

     agte^ent foc the above refhrenped account The'setdeineQt letter^Isr Btl^ed-h'eiein as
     ExfeibitA

3^ Pursuant to the teinis of the settlemeni; Plaintiff was.-legtpred to inike six monthly
     paypaiBnts totaling $1,430.00 to settle.and dose he^'.Xafgeit.account
Case 1:16-cv-10573-RGS Document 1-1 Filed 03/23/16 Page 4 of 11




9. Thus,. IC and Targ^ a^QkhdwIcdged ih- 't^nifing thattihfey had a^eed to a setdement oit
                 T^otacpoiint, m©insidsratiQn oftile six payuiejate which J?lainliffwould he


10; Be3^i?dtag;oa/^tigiSst:.20i.^^^^ ^ continumg,o|Cvsj8rd, Slamtiff,         her-debt seltlement
   eoi^paflyi ISfatioual Bebt Ki^ef               -timely made requisite monthly- payxneniB


                                                                                        m;aecept

    any                            t i n s , h e r e i n ais E^faibitB^
12'- Tl$areaiterf.oti Oi?lcite.2J,.20l|,MJR4Sontaeted'IC;to                 paymentdiscrep^icy;
    ID repr^hntatiye                   e^iaiaed. that tins acoQuat was recalM ^               OJ?
   4n^fc-3Qj
13.Ei|»ti]^-da^^                                                     to.:
    Diana.,.?i^<3i-




14.Plaintii^^;eass!^-andid(^^0mtes^^^                         all facts and allegatibtis
    ahom

ISiTatB^ ahtilOfa^dwl^^'^                    thattheyhadagreed to a seltiement^i^th Pliuntihr^

    in c^mSideliatipnofhionlM               Whu^ Plaihtifr.would be required to imike.

 IdvPIainti^ made -thlEt tizst: 'of the required monthly payments, in accordance* With the
    a^ement tC..{icoeptsed and cashed the. first timely payment, but refused to-accept the
    followrag.*tim% p^toentSi
Case 1:16-cv-10573-RGS Document 1-1 Filed 03/23/16 Page 5 of 11




17. IC.and l'argel;-t^egwg on- their settiemeni .^gcc^nj^t             Plaanii^-octostitutes a-breach
      ofcontract.

l.S» As.8osisult, ftotifrh^ s«£feij84,8^.d.^.p,Qji^5^4aD^


19. PlaintW Jsasseajfer^dfntqoiBora^                byjcefecfjec-j^iJfecte aj^-ahe^tiona set forth
      above,

2Q; By reason ofIhe. fQrejgpihgs. Tarjget.^i9ad.il^ bi^^ohBd the- nhpfiod coyenarit of;gOQd Mfht


21.



22.            reassert^ pihd liteoiijoiiettes .herein- byrefifjaijtte all- feets-anji -legations s# foi^
      ^ve.

23. Tbe-;#»pve contactB belv^esn-IC atJa-PlaSnl^              •^ommnnica^ona" lelaling to a "debt"
      as-defined,by 15 ^.S^G. §ld>2a0'and'l^^a(5) ofiieH)CPA.
24.FDGPA 15 H;S.C. §. 16926(10)                             Sny "^e, oni^teadiog, or deceptive
      representation or means in conncigdon ^th the eolleetlon bf &.^^bt fC sidolated fins

      provision by deceptivelyM^seing to-a setQemeni^-A!!dth.Pip^'lvhibb                              to
      '"We^acd'dfiibi-ieacVu

25.FDCPA 15 U.S.C. § l-69S2ije^4)(4j! prohibits the {idsc-r^iesentation of the character,

       amount, or legal status of any debt. FDCPA 15 U.SiC. § 1^921^1). prohibits The use of
      unfair or unconscionabie piadices to collect a deb% inelndkig. collectionofany amount

      not authorized by.thecontract or,law. Bdhanced Recovery violated the above provisions,
      v^hen it tried to coUecl on the original balancefiom Plalnfifif despitebeing aware thatthe

       accountv^ alreadysettledand had a settlementbalanceOfonly $1,235.00.
              Case 1:16-cv-10573-RGS Document 1-1 Filed 03/23/16 Page 6 of 11




              26. BefoidiSBts' kn^ ot sbould liave-knoym 'th^ tjieii' actions ^plated the FDCPA.

                 AidditioQally, defendants could have taken the steps nece^aiy to bring their actions

                  wiiMn compfiahce -with                                  to do $o and ^ed.to adequately



              27vAsai|caiih;oftofeoveVioMtaas ofthe.Fd.^iii^                    Enl^ced-R^veiEy areJiable.
                                      actual danmj^^ statttlo^Td^a^ess;a{t0tn^^i^^i^^^


                                Plaindfif demands that judgment in the sum of ^2^500 be entje^d asi^t
           DefmdahtS"^ tbJlo>vs;

                .(a) That judgoDi^t be enter^ against Target and               % aptpat ^d znone^
                     .damdgoaj^^'^tiy Pl^tiiSras aresplt of^eiri^teaehof^wtme^'
                 (h) ^Q]^:j]jirdgm^^  entered against^ Target and' IC ibi-
                                                  aiesid! ofdie&'hmaoft ofiSie'im^j^icoyanEu^^^
                                             feic d'0a^^
                      ptu3liaht.to         lfiS,C. § 163)2k(aXl)i
                .(d>'libt'|ndgm6htbe ente^ against iC 'and; Bpbaziced^ ^pyeiy for statutory-
                      ji^^eapuisuanttQa5tTS:^C.§.l^                        .
                 C^J?hiat^:die ^c^rawaid-costs. and xeasoj^le^attoxhey's fees, pursuant, to- ISIX:&.C^.-
                    |^6SiSj4)C$);aad
                      Thiddhe'-ji^



                                                                        'l^hteT'^they'''    •••

             Target Receiving        lKS



©            (612) 761-0058


TO: TPS 31 Legal Team
                                     PLAZA                               86PrestonBiiye
                                                                         Cranston-Ki
                                                                         (401)556^03^
Recipient SUE CARLSON                                                    e^iiealy@gma^'.com
Sender        SUBPEONA
Carrier:    BuMseye
                                3/4/2016 12:46:57 PM




                      SCLM5VUW0UAX
Case 1:16-cv-10573-RGS Document 1-1 Filed 03/23/16 Page 7 of 11




                EXHIBIT A
Case 1:16-cv-10573-RGS Document 1-1 Filed 03/23/16 Page 8 of 11
                                                  REDACTED
                       8/17/2015 11:05:57 AM                   PAGE        1/002         Fax Server




"The mformadon contained in thisiacsimile message is privileged andcoRfideolial information intended for the
use of the addresseelistedbelowandno one else, [f you are not the mtended recipientor the employeeor agent
responsible to deliver &ismessage to theintended recipient, please donot usethistransmission in anyway, but
contact the sender by telephone."



                                                 IC System
                                            LC SYSTEM,INC
                                            444 E. Highway 96
                                            SuPaul,MN 55127
                                            Fax U651-204-1256

FaxedAugust 17,2015 at 11K)5 AM


Kate O'Reilly
396 W Main St
Avon, MA 02322


R£:      Settletncnl Offer S
         Reference Number:!
         CreditorTARGET (OTPORATC^VICES
         Creditor Account fl;
         Balance as of 8/17/15 $3698.34

DearKate O'Reilly,

This letter is to confiim the offer to settle your TARGETCORPORATESERVICESaccount
for the reduced amount of $1480.00 if fiinds are received at I.C. System by the terms listed
below. This account will then be listed as settled in full.

If these conditionslisted bdow arenot adhered to, l.C. Systemreservesthe right to resume
collection on the remaining balance of $3698.34.

Terms:
       Paymcnt(s)                    Amount                     Due Date              Method of Delivery
             1                       $245.00                     8/28/15               Check by Phone
            2                        $247.00                    9/28/15                Check by Phone
            3                        $247.00                    10/28/15               Check bv Phone
            4                        $247.00                    11/28/15               Check by Phone
             5                       $247.00                    12/28/15               Check by Phone
             6                       $247.00                     1/28/16               Chedc by Phone

 If you haveanyquestions, please call866-852-6582. Calls may be monitored and recorded.
We area debt collector attempting to collect a debt and any information obtained will be
used for that purpose.

Sincerely,

Beth Brown

 If more than $600.00 of this debt is cancelled, ourclientmay be requiredto notiiy the Internal RevenueService
 on foiin 1099c as other income.
Case 1:16-cv-10573-RGS Document 1-1 Filed 03/23/16 Page 9 of 11


                      8/17/2015 11:05:57 AM                  PAGE        2/002         Fax Server




We are required understatelawto notify consumers of ibe following nghts. Tills list doesnot contain a
complete list of rightsconsumers haveunderstateand federal law.

California:
"The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection Practices Act
require that, except under unusual circumstances, collectpjs may notcontact you before 8 am. orafter 9
p.m. They may notharass you by using threats ofviolence or arrest orbyusing obscene language.
Collectors may notusefalse ormisleading statetncnts orcall you atwork iftliey taiow or have reason to
know that you may not receive phonal calls atwork. For the most part, collectors may nottell another
person, odier than your attorney orspoase, about your debt. Collectois may contact another peraon to
confirm your location orenforce ajudgment. Formore information about debt collection activities, you
may contact theFederal Trade Commission at 1-877-FTC-HELP orwwvv.ftc.gov. Telephone calls toor
firom ourGeneralOfSces arerandomly monitored bysupervisoiy peiscnnel forbusiness reasons not
directlyrelatedto your account**

Colorado:
•TOR INFORMATION ABOUT THECOLORADO FAIRDEBTCOLLECTION PRACTICES ACT,
SEE www.coloradoattomeveeiieral.gov/ca"A consumer hastherighttorequest inwriting that a debt
collector or collection agency cease furflier conummication withthe consumer. A written request to cease
communication will not^tdiibitthedebt collector orcollection agmrcy from taking anyodier action
authorizedby law to collectthedebt."
LocalofSceand localphone: 8310Soudi Valley HwySuite300, Englewood, CO80112
Local Phone No.: 303-524-1050

Maine:
Hours: Men - Fri 8."00 AM - 4:30 PM CST

Massachusetts:
Hours: Mon - Fri 8:00 AM - 4:30 PM CST
"Notice Ofjhnpoitant Rights:
You have theright tomoke a written ororal request that telephone calls regarding your debt notbemade
toyouatyourplace ofemployment. Any such oral request willbevalid foronly tendays unless you
provide written confirmation offile request postmarked ordelivered within seven days of such request.
Youmaytenninate ibisrequestbywriting to thedebtcollector."

Minnesota:
"Thiscollectionagency is licensed by theMinnesota Department of Commmce."

 New York City:
 "New York Qty Department ofConsumer Affaiis License Number 0908324,1266437, and 1266469"

 North Carolina:
 "Norfii CarolinaPenoalt Nos.20,4476,and 101368"

 Tennessee:
 "This collection agency islicensed bythe Collection Services Board ofthe Department ofCommerce and
 Insurance."

 Washington:
 Local address: 512 Bell Street,Edmonds,WA 98020-3147

 Wisconsin:
 "This coliectloii agency islicensed bythe Division ofBanking inthe Wisconsin Deportment ofFinancial
 Institutions, www.wdfi.or^".
 Local address; 301 Sand Lake Road, Onalaska,WI 54650
Case 1:16-cv-10573-RGS Document 1-1 Filed 03/23/16 Page 10 of 11




                 EXHIBIT B
Case 1:16-cv-10573-RGS Document 1-1 Filed 03/23/16 Page 11 of 11


                                               REDACTED




                                                                                               201S-11-17 09*20 AM

                                              FEDERAL RESERVE SYSTEM
                                                       FcdACH
                                                     Item Detsii


                                                  Item Informstlon
              OriginstarABA:                                          Account Numben

               ReceVferABA:                                                 Trans Code: 27

             Individual Name: Kate O'Reilly                                    Amount H
             Individual ID No: I                                            Description:

               TfBce Number.!



                                               Output BatchInformation
             Company Name: LC. SYSTEM                                     Batch Numben 2S7

                Sendee Class: 200                                           Company ID: Z410739183
                   SEC Code: TEL                                     Effective Entry Data: 8/31/2015

    Company Entry Description: PD ONACCT                                 Senlement Date: 8/31/2015
